             Case 2:07-cr-00248-WBS Document 1158 Filed 09/25/12 Page 1 of 3


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 4

 5
     Attorney for Defendant
     SOPHIA SANCHEZ
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                      )       CR NO. S-07-0248-24 WBS
10
                                                    )
                                                    )
11          Plaintiff,                              )       ORDER CONTINUING SENTENCING
                                                    )
12
     v.                                             )       Date: October 15, 2012
                                                    )       Time: 9:30 a.m.
13
     SOPHIA SANCHEZ,                                )       Judge: Hon. William B. Shubb
                                                    )
14
                                                    )
            Defendant.                              )
15
                                                    )
                                                    )
16
                                                    )
17
     The parties hereby stipulate the following:
18
            1. Judgment and sentencing in this matter is presently set for October 1, 2012. Counsel
19
                for the parties requests the date for judgment and sentencing be continued to
20
                October 15, 2012 at 9:30am. The continuance is needed to allow the parties
21
                additional time to address matters concerning defendant’s sentencing.
22
            2. The parties requests the court adopt the following schedule pertaining to the
23
                presentence report:
24
                Judgment and Sentencing date:                                     10/15/12
25
                Reply, or Statement of Non-Opposition:                            10/9/12
26

27              Motion for Correction of the Presentence Report
                Shall be filed with the Court and served on the
28              Probation Officer and opposing counsel no later than:             10/1/12


                                                        1
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 1
     Dated: September 19, 2012                       /s/ John R. Manning
 2                                                  JOHN R. MANNING
                                                    Attorney for defendant
 3                                                  Sophia Sanchez
 4

 5                                                  Benjamin B. Wagner
                                                    United States Attorney
 6

 7
     Dated: September 19, 2012                       /s/ Jason Hitt
                                                    JASON HITT
 8                                                  Assistant United States Attorney
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             Case 2:07-cr-00248-WBS Document 1158 Filed 09/25/12 Page 3 of 3


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                              IN THE UNITED STATES DISTRICT COURT
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                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                     ) CR NO. S-07-0248 WBS
10                                                 )
                                                   )
             Plaintiff,                            ) ORDER CONTINUING SENTENCING
11
                                                   )
12   v.                                            )
                                                   )
13   SOPHIA SANCEZ,                                )
                                                   )
14                                                 )
             Defendant.                            )
15                                                 )
                                                   )
16                                                 )

17          GOOD CAUSE APPEARING, it is hereby ordered that the date for the judgment and
18
     sentence of defendant Sophia Sanchez be continued from October 1, 2012 to October 15, 2012 at
19
     9:30 a.m. The court hereby adopts the schedule concerning the presentence report as stipulated
20

21
     to by the parties and set forth herein.

22   DATED: September 24, 2012
23

24

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